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 4
                                UNITED STATES DISTRICT COURT
 5                             WESTERN DISTRICT OF WASHINGTON
                                         AT SEATTLE
 6
     THE UNITED STATES OF AMERICA,                      No. CR 05 – 334 RSL
 7
            Plaintiff,                                  ORDER GRANTING DEFENDANT’S
 8
                                                        MOTION FOR RETURN OF PERSONAL
 9          v.                                          PROPERTY

10   RAJINDER SINGH JOHAL,

11          Defendant.
12

13          Defendant’s motion for return of personal property came on regularly for hearing, and,

14   the Court being fully advised,

15
            IT IS HEREBY ORDERED that plaintiff United States shall return to the defendant or his

16   designee within thirty (30) days all personal property seized from the defendant and his family in

17   the course of the investigation and prosecution of this case that is not contraband or evidence of a
18   crime, or necessary to retain in the investigation or prosecution of the fugitive Defendant
19
     Lakhwinder Johal.
20
            Ordered this 29th day of September, 2006.
21

22
                                                          A
                                                          Robert S. Lasnik
23                                                        United States District Judge

24

25

26

     [PROPOSED ORDER GRANTING DEFENDANT’S                               LAW OFFICES OF STEPHAN R. ILLA, INC. P.S.
     MOTION FOR RETURN OF PERSONAL PROPERTY - 1                                     600 FIRST AVENUE, SUITE 433
                                                                                            SEATTLE, WA 98104
                                                                                                 (206) 464-4142
